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 8
 9                                  UNITED STATES DISTRICT COURT

10                                 EASTERN DISTRICT OF CALIFORNIA

11                                     SACRAMENTO DIVISION

12    UNITED STATES OF AMERICA,                         Case No. CR 12-00060-TLN
13
                      Plaintiff,
14           v.                                         STIPULATIONAND [PROPOSED]
                                                        ORDER TO MODIFY CONDITIONS OF
15    SERGEY SHCHIRSKIY, et al.,                        RELEASE
16
                      Defendants.
17
18
            Defendant Anton Tkachev, by and through his counsel, Edward. W. Swanson, and the
19
     United States of America, by and through its counsel, Assistant United States Attorney Heiko
20
     Coppola, hereby submit this stipulated request to modify Mr. Tkachev’s conditions of release.
21
22   The parties agree and stipulate that the conditions of Mr. Tkachev’s pre-trial release shall be

23   modified as follows:

24          1.       Mr. Tkachev’s conditions of pretrial release include a condition of electronic

25   monitoring;

26          2.       Mr. Tkachev wishes to stay in a room at the Rodeway Inn located at 817 West
27   Capitol Avenue, West Sacramento, CA 95691, from October 22, 2015 through October 26, 2015;
28
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 1          3.       The parties stipulate and agree that beginning on October 22, 2015 and continuing
 2   through October 26, 2015, the electronic monitoring of Mr. Tkachev will be administered by
 3   pretrial services at the Roadway Inn in a room determined to be acceptable by pretrial services.
 4          4.       In all other respects, the conditions of Mr. Tkachev’s pretrial release shall remain
 5   the same.
 6
            5.       Pretrial Services Officer Renee Basurto has no objection to the proposed
 7
     modification.
 8
 9          IT IS SO STIPULATED.
10
11
     DATED: October 19, 2015.                                      _______/s/_____________________
12                                                                 Heiko Coppola
13                                                                 Assistant United States Attorney

14
15   DATED: October 19, 2015.                                      _______/s/_____________________
16                                                                 Edward W. Swanson
                                                                   SWANSON & McNAMARA LLP
17                                                                 Attorneys for ANTON TKACHEV
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19
20
21
22          PURSUANT TO STIPULATION, IT IS SO ORDERED.
23
     DATED: October 19, 2015.
24
25
26
27
28

                                                       2
             STIPULATION AND [PROPOSED] ORDER TO MODIFY CONDITIONS OF RELEASE
                          United States v. Shchirskiy, et al. (No. CR 12-00060-TLN)
